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                                UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                    FORT WORTH DIVISION

ERIC JACKSON, ALARIC STONE, and                                   )
MICHAEL MARCENELLE, on behalf of                                  )
themselves and all others similarly situated,                     )
                                                                  )         Case No. 4:22-cv-00825-P
                            Plaintiffs,                           )
v.                                                                )
                                                                  )
ALEJANDRO N. MAYORKAS, in his official                            )
capacity as Secretary of Homeland Security,                       )
LLOYD J. AUSTIN, III, in his                                      )
official capacity as Secretary of Defense,                        )
LINDA L. FAGAN, in her official                                   )
capacity as Commandant of the Coast Guard, and                    )
BRIAN K. PENOYER, in his official capacity                        )
as Assistant Commandant for Human                                 )
Resources of the Coast Guard,                                     )
                                                                  )
                            Defendants.                           )


      APPENDIX OF SUPPLEMENTAL MATERIALS ON REPLY IN SUPPORT OF
               PLAINTIFFS’ MOTIONS FOR CLASS-WIDE RELIEF


                               Index of Contents of Supplemental Appendix
Document(s)                                                                            Begins at Appendix page*
1. Stone Second Supplemental Declaration ..............................................................................300
2. Jackson Second Supplemental Declaration ..........................................................................303
3. Marcenelle Second Supplemental Declaration .....................................................................305


* The page numbering in this Supplemental Appendix begins where Plaintiffs’ original
Appendix (ECF No. 6 to 6-3) left off.
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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

ALARIC STONE, ERIC JACKSON, and                        )
MICHAEL MARCENELLE, on behalf of                       )
themselves and all others similarly situated,          )
                                                       )     Case No. 4:22-cv-00825-P
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official capacity as Secretary of Defense,             )
LINDA L. FAGAN, in her official                        )
capacity as Commandant of the Coast Guard, and         )
BRIAN K. PENOYER, in his official capacity             )
as Assistant Commandant for Human                      )
Resources of the Coast Guard,                          )
                                                       )
                       Defendants.                     )


     SECOND SUPPLEMENTAL DECLARATION OF LIEUTENANT JUNIOR GRADE
                           ALARIC STONE

        Pursuant to 28 U.S.C. § 1746, I, Alaric Stone, under penalty of perjury declare as follows:

        1.     I am over the age of eighteen and I am competent to make this declaration.

        2.     This declaration responds to some specific statements made in Commander

Thomas’s declaration (Coast Guard’s Ex. 6).

        3.     While I do work in a classified space and do leverage classified systems and

information to support operations, the majority of my unit’s work is on the Coast Guard’s

unclassified domain.

        4.     Most of our work applies to Law Enforcement Intelligence (LEI) missions, and as

such it primarily involves the use of unclassified data.




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       5.      Accordingly, members of my unit regularly telework and are specifically equipped

to do so with Virtual Desktop Infrastructure that allows them to access controlled but unclassified

information (“CUI”) material in a secure environment from home.

       6.      Just this month, both my direct supervisor and my branch chief leveraged telework

options in lieu of in-person work.

       7.      The Coast Guard Commandant, Defendant Admiral Fagan, recently released

guidance encouraging increased use of teleworking capabilities in order to promote a technology

forward Coast Guard.

       8.      Meanwhile, on October 7, I was notified by my command that I have been put on a

list of District 5 personnel who will likely deploy this upcoming December to Coast Guard

District 7 in Miami, Florida, to support the ongoing surge in support of Alien Migrant Interdiction

Operations, regardless of my vaccination status.

       9.      As to CAPT Vance’s (my commanding officer onboard USCGC JAMES)

statement that our religious beliefs “did not matter” to him (which I understand the Coast Guard

does not dispute), two other unvaccinated service members were present during this counseling

session and heard the same thing. Moreover, I recall distinctly that my commanding officer

further said: “Let me be clear: I will negatively endorse any request for an accommodation that is

not a request for a medical accommodation.”

       10.     Given the content of CAPT Vance’s (my commanding officer’s) statements and

his express promise to engage in disparate treatment of religious accommodation requests, I do

not believe I misinterpreted what he said. I believe it demonstrated a distinct hostility to service

members with religious objections to COVID-19 vaccination, consistent with the Coast Guard’s




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blanket denial of all requests for religious accommodation, except for those already slated for

separation or retirement.

       I declare under penalty of perjury that the tbregoing is true and correct. Executed on

October   ltl   , 2022.




                                      Alaric Stone




                                                 J


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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

ALARIC STONE, ERIC JACKSON, and                      )
MICHAEL MARCENELLE, on behalf of                     )
themselves and all others similarly situated,        )
                                                     )       Case No. 4:22-cv-00825-P
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ALEJANDRO N. MAYORKAS, in his official               )
capacity as Secretary of Homeland Security,          )
LLOYD J. AUSTIN, III, in his                         )
official capacity as Secretary of Defense,           )
LINDA L. FAGAN, in her official                      )
capacity as Commandant of the Coast Guard, and       )
BRIAN K. PENOYER, in his official capacity           )
as Assistant Commandant for Human                    )
Resources of the Coast Guard,                        )
                                                     )
                       Defendants.                   )


 SECOND SUPPLEMENTAL DECLARATION OF BOATSWAIN’S MATE 1ST CLASS
                        ERIC JACKSON

        Pursuant to 28 U.S.C. § 1746, I, Eric Jackson, under penalty of perjury declare as follows:

        1.     I am over the age of eighteen and I am competent to make this declaration.

        2.     This declaration responds to some specific statements made in Capt. Manning’s

declaration (Coast Guard’s Ex. 7).

        3.     While underway at sea once, two COVID-19-vaccinated shipmates contracted

COVID-19. It was a seamless process to transfer them to port for any necessary medical care.

        4.     My superior officers developed, submitted, and received approval of a COVID-19

mitigation plan that was the same mitigation plan I suggested and detailed in my original

declaration. The plan allowed our fast response cutter (FRC) to stay at full daily work force while




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all other units at our sector went into a limited daily work force status (i.e., work from home or

one-quarter of a daily work force).

       5.      With three other FRCs at homeport, more than a sufficient number of qualified

personnel could have filled in for me if I were unable to get underway (though I never have been

unable to get underway).

       6.      At full force a FRC operates with 26 people, but a FRC can operate with a

minimum of 16 people.

       I declare under penalty of perjury that the foregoing is true and correct. Executed on

October        , 2022.




                                       Eric Jackson




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